                                                                                                                                                                                         AMENDED
            Case 23-51696-bem                           Doc 14           Filed 03/27/23 Entered 03/27/23 16:59:31                                                      Desc Main
                                                                        Document      Page 1 of 38

 Fill in this information to identify your case:

 Debtor 1
                     Matthew Ryan Stucke
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: Northern District of Georgia District of __________
                                                                                                (State)
 Case number           23-51696
                     ___________________________________________                                                                                                          
                                                                                                                                                                          ✔ Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 550,000.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 112,663.76
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 662,663.76
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 1,167,899.00
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 0.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      +   $ 2,786,429.73
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 3,954,328.73
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 13,226.00
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 22,899.46
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
                                                                                                                                                     AMENDED
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                  Matthew Stucke
                                                               Document      Page 2 of 38
                                                                                                                          23-51696
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
    ✔


           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                               $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                               $_____________________


    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                     $_____________________



    9d. Student loans. (Copy line 6f.)                                                                      $_____________________


    9e. Obligations arising out of a separation agreement or divorce that you did not report as             $_____________________
        priority claims. (Copy line 6g.)

    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                     $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
                                                                                                                                                                                                               AMENDED
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Fill in this information to identify your case and this filing:

                    Matthew Ryan Stucke
Debtor 1
                    First Name               Middle Name                 Last Name

Debtor 2
(Spouse, if filing)    First Name               Middle Name                 Last Name


United States Bankruptcy Court for the: Northern District of
Georgia
                                                                                                                                                                                                        Check if this is
Case number 23-51696                                                                                                                                                                                    an amended
(if know)
                                                                                                                                                                                                        filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                           12/15


In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.


Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
        No. Go to Part 2
        Yes. Where is the property?

                                                                                 What is the property? Check all that apply
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
    1.1 12902 Donegal Lane                                                         Single-family home                                                           amount of any secured claims on Schedule D:
            Street address, if available, or other description
                                                                                   Duplex or multi-unit building                                                Creditors Who Have Claims Secured by Property:
                                                                                   Condominium or cooperative                                                   Current value of the                Current value of the
                                                                                   Manufactured or mobile home                                                  entire property?                    portion you own?
            Milton GA            30004-8104
                                                                                   Land                                                                         $ 1,100,000.00                      $ 550,000.00
            City      State      ZIP Code
                                                                                   Investment property
                                                                                                                                                                Describe the nature of your ownership
                                                                                   Timeshare                                                                    interest (such as fee simple, tenancy by the
                                                                                   Other                                                                        entireties, or a life estate), if known.
                                                                                 Who has an interest in the property? Check                                     Joint tenant
                                                                                 one
                                                                                      Debtor 1 only                                                                  Check if this is community property
                                                                                      Debtor 2 only
                                                                                      Debtor 1 and Debtor 2 only
                                                                                      At least one of the debtors and another

                                                                                 Other information you wish to add about this item, such as local
                                                                                 property identification number:

 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
     you have attached for Part 1. Write that number here...........................................................................................................................................➤        $ 550,000.00


Part 2:        Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.
 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
            No
            Yes




                                                                                                                                                                                                                page 1 of 5
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Debtor 1          Matthew Ryan Stucke
                 First Name          Middle Name         Last Name
                                                                                   Document      Page 4 of 38     Case number(if known) 23-51696



    3.1 Make:Ford                                                                 Who has an interest in the property? Check
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
                                                                                  one
           Model:F150                                                                                                                                           amount of any secured claims onSchedule D:
                                                                                       Debtor 1 only                                                            Creditors Who Have Claims Secured by Property:
           Year:                             2021
                                                                                       Debtor 2 only
           Approximate mileage: 12560                                                                                                                              Current value of the Current value of the
                                                                                       Debtor 1 and Debtor 2 only                                                  entire property?     portion you own?
              Other information:
                                                                                       At least one of the debtors and another                                     $ 80,000.00
              Condition:Excellent;                                                                                                                                                                      $ 80,000.00
                                                                                      Check if this is community property (see
                                                                                  instructions)

  4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
          No
          Yes

      Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
  5. you have attached for Part 2. Write that number here...........................................................................................................................................➤                $ 80,000.00


 Part 3:        Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                       Current value of the
                                                                                                                                                                                                   portion you own?
  6. Household goods and furnishings                                                                                                                                                                Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
         Examples: Major appliances, furniture, linens, china, kitchenware
              No
              Yes. Describe...

          Household furniture and goods                                                                                                                                                                 $ 5,000.00
  7. Electronics
         Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                   collections; electronic devices including cell phones, cameras, media players, games

              No
              Yes. Describe...

          Household electronics (tv, computer monitor, apple watch, iphone, laptop, etc. )                                                                                                              $ 1,000.00
  8. Collectibles of value
         Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                   stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

              No
              Yes. Describe...

          Signed sports memorabilia                                                                                                                                                                     $ 500.00
  9. Equipment for sports and hobbies
         Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                   and kayaks; carpentry tools; musical instruments

              No
              Yes. Describe...

          Golf clubs                                                                                                                                                                                    $ 500.00
  10. Firearms
         Examples: Pistols, rifles, shotguns, ammunition, and related equipment
              No
              Yes. Describe...
  11. Clothes
         Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
              No
              Yes. Describe...

          Clothes                                                                                                                                                                                       $ 300.00




                                                                                                                                                                                                                      page 2 of 5
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Debtor 1         Matthew Ryan Stucke
                First Name            Middle Name           Last Name
                                                                                        Document      Page 5 of 38     Case number(if known) 23-51696



  12. Jewelry
        Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems
                  gold, silver

             No
             Yes. Describe...
  13. Non-farm animals
        Examples: Dogs, cats, birds, horses

             No
             Yes. Describe...
  14. Any other personal and household items you did not already list, including any health aids you did not list
             No
             Yes. Give specific information...

 15. Add the dollar value of the portion you own for all of your entries from Part 3, including any entries for pages
      you have attached for Part 3. Write that number here...........................................................................................................................................➤            $ 7,300.00



 Part 4:       Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                        Current value of the
                                                                                                                                                                                                    portion you own?
                                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
  16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

             No
             Yes..............................................................................................................................................   Cash ...........................    $
  17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses
                  and other similar institutions. If you have multiple accounts with the same institution, list each.

             No
             Yes..................                                   Institution name:
        17.1. Checking account:                                     Bank of America (Joint Checking)                                                                                                 $ 7,498.00

        17.2. Checking account:                                     Bank of America (Business Checking Matt Stucke, LLC).                                                                            $ 2,886.00

        17.3. Checking account:                                     Truist                                                                                                                           $ 100.00

        17.4. Checking account:                                     Truist (Business Account for Matt Stucke, LLC)                                                                                   $ 1,000.00

        17.5. Checking account:                                     US Bank                                                                                                                          $ 50.00

        17.6. Checking account:                                     JP Morgan                                                                                                                        $ 0.50

        17.7. Savings account:                                      Bank of America (Business Account for Matt Stucke, LLC)                                                                          $ 171.00

  18. Bonds, mutual funds, or publicly traded stocks
        Examples: Bond funds, investment accounts with brokerage firms, money market accounts

             No
             Yes..................
        Institution or issuer name:
        TD Ameritrade                                                                                                                                                                                $ 5,499.00
        TD Ameritrade                                                                                                                                                                                $ 0.00
        Raymond James                                                                                                                                                                                $ 4,100.00
        Cambridge                                                                                                                                                                                    $ 0.00
  19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
        an LLC, partnership, and joint venture
             No
             Yes. Give specific information about them...........
        Name of entity:                                                                                                                                          % of ownership:
        Matt Stucke, LLC                                                                                                                                         100                %                $ Unknown

                                                                                                                                                                                                                  page 3 of 5
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Debtor 1        Matthew Ryan Stucke
              First Name          Middle Name   Last Name
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  20. Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific information about them..........
  21. Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

           No
           Yes. List each account separately
  22. Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
                 companies, or others

           No
           Yes.....................
  23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
           No
           Yes......................
  24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition
       program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes......................
  25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
       exercisable for your benefit
           No
        Yes. Give specific information about them...
  26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

           No
           Yes. Give specific information about them...
  27. Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

           No
           Yes. Give specific information about them...

 Money or property owed to you?                                                                                                       Current value of the
                                                                                                                                      portion you own?
                                                                                                                                      Do not deduct secured
                                                                                                                                      claims or exemptions.
  28. Tax refunds owed to you
           No
           Yes. Give specific information about them, including whether you already filed the returns and the tax years...
                                                                                                                 Federal:             $ 0.00
                                                                                                                 State:               $ 0.00
                                                                                                                 Local:               $ 0.00

  29. Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

           No
           Yes. Give specific information....
  30. Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

           No
           Yes. Give specific information....




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                  First Name            Middle Name           Last Name
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  31. Interests in insurance policies
               No
               Yes. Name the insurance company of each policy and list its value....
          Company name:                                                                                                                      Beneficiary:                                           Surrender or
                                                                                                                                                                                                    refund value:
          Transamerica                                                                                                                                                                              $ 4,059.26
  32. Any interest in property that is due you from someone who has died
               No
               Yes. Give specific information....
  33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
               No
               Yes. Give specific information....
  34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set
          off claims
               No
               Yes. Give specific information....
  35. Any financial assets you did not already list
               No
               Yes. Give specific information...

 36. Add the dollar value of the portion you own for all of your entries from Part 4, including any entries for pages
       you have attached for Part 4. Write that number here...........................................................................................................................................➤             $ 25,363.76


 Part 5:         Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

  37. Do you own or have any legal or equitable interest in any business-related property?
               No. Go to Part 6.
               Yes. Go to line 38.


                   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
 Part 6:           If you own or have an interest in farmland, list it in Part 1.

  46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
               No. Go to Part 7.
               Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

  53. Do you have other property of any kind you did not already list?
          Examples: Season tickets, country club membership

               No
               Yes. Give specific
              information...

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                                     ................................................➤
                                                                                                                                                                                                                      $ 0.00

 Part 8:         List the Totals of Each Part of this Form

  55. Part 1: Total real estate, line 2............................................................................................................................➤
                                                                                                                                                                                                                  $ 550,000.00
  56. Part 2: Total vehicles, line 5                                                                                           $ 80,000.00
  57. Part 3: Total personal and household items, line 15                                                                      $ 7,300.00
  58. Part 4: Total financial assets, line 36                                                                                  $ 25,363.76
  59. Part 5: Total business-related property, line 45                                                                         $ 0.00
  60. Part 6: Total farm- and fishing-related property, line 52                                                                $ 0.00
  61. Part 7: Total other property not listed, line 54                                                                    + $ 0.00
  62. Total personal property. Add lines 56 through 61 ...................                                                      $ 112,663.76                        Copy personal property total➤         +$
                                                                                                                                                                                                               112,663.76
  63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                                                        $ 662,663.76



                                                                                                                                                                                                                     page 5 of 5
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           Case 23-51696-bem                       Doc 14         Filed 03/27/23 Entered 03/27/23 16:59:31                                       Desc Main
                                                                 Document      Page 8 of 38
 Fill in this information to identify your case:

                     Matthew Ryan Stucke
 Debtor 1          __________________________________________________________________
                     First Name                 Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                 Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: Northern District of Georgia District of __________
                                                                                       (State)
 Case number
  (If known)
                      23-51696
                     ___________________________________________                                                                                    
                                                                                                                                                    ✔ Check if this is an
                                                                                                                                                        amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                               4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions.                   11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on          Current value of the                      Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property                  portion you own                           exemption you claim

                                                              Copy the value from                       Check only one box
                                                              Schedule A/B                              for each exemption
                 12902 Donegal Lane                                                                                                    Ga. Code Ann. § 44-13-100 (a)(1)
 Brief
 description:
                                                                      550,000.00
                                                                     $________________           
                                                                                                 ✔ $ ____________
                                                                                                     11,500.00
                                                                                                   100% of fair market value, up to
 Line from                                                                                            any applicable statutory limit
 Schedule A/B:        1.1
                 Household Goods - Household furniture and goods                                                                       Ga. Code Ann. § 44-13-100 (a)(4)
 Brief
 description:
                                                                       5,000.00
                                                                     $________________            $ ____________
                                                                                                  ✔  2,700.00
                                                                                                   100% of fair market value, up to
 Line from                                                                                            any applicable statutory limit
 Schedule A/B:          6
                 Electronics - Household electronics (tv, computer                                                                     Ga. Code Ann. § 44-13-100 (a)(4)
 Brief
 description:
                 monitor, apple watch, iphone, laptop, etc. )        $________________
                                                                       1,000.00                  
                                                                                                 ✔ $ ____________
                                                                                                     1,000.00
                                                                                                   100% of fair market value, up to
 Line from                                                                                            any applicable statutory limit
 Schedule A/B:           7

 3. Are you claiming a homestead exemption of more than $189,050?
     (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                            Schedule C: The Property You Claim as Exempt                                                              2
                                                                                                                                                              page 1 of __
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Debtor        Matthew Ryan Stucke                  Document
             _______________________________________________________
                                                                     Page 9 of 38                     23-51696
                                                                               Case number (if known)_____________________________________
                First Name      Middle Name          Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                              Amount of the                        Specific laws that allow exemption
                                                                     Current value of the   exemption you claim
         on Schedule A/B that lists this property                    portion you own
                                                                    Copy the value from    Check only one box
                                                                     Schedule A/B           for each exemption
               Collectibles Of Value - Signed sports memorabilia                                                                  Ga. Code Ann. § 44-13-100 (a)(4)
Brief
description:
                                                                      500.00
                                                                     $________________         500.00
                                                                                            ✔ $ ____________

                                                                                             100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:         8
               Sports & Hobby Equipment - Golf clubs                                                                              Ga. Code Ann. § 44-13-100 (a)(4)
Brief
description:                                                         $________________
                                                                      500.00                
                                                                                            ✔ $ ____________
                                                                                                500.00
                                                                                             100% of fair market value, up to
                                                                                                any applicable statutory limit
Line from
Schedule A/B:         9
               Clothing - Clothes                                                                                                 Ga. Code Ann. § 44-13-100 (a)(4)
Brief
description:                                                         $________________
                                                                      300.00                
                                                                                            ✔ $ ____________
                                                                                                300.00
                                                                                             100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:         11
               Bank of America (Joint Checking) (Checking Account)                                                                Ga. Code Ann. § 44-13-100 (a)(6)
Brief
description:
                                                                      7,498.00
                                                                     $________________         3,749.00
                                                                                            ✔ $ ____________

                                                                                             100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:          17.1
               Truist (Checking Account)                                                                                          Ga. Code Ann. § 44-13-100 (a)(6)
Brief
description:
                                                                      100.00
                                                                     $________________         100.00
                                                                                            ✔ $ ____________

                                                                                             100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:        17.3
               US Bank (Checking Account)                                                                                         Ga. Code Ann. § 44-13-100 (a)(6)
Brief
description:
                                                                      50.00
                                                                     $________________         50.00
                                                                                            ✔ $ ____________

                                                                                             100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:       17.5
               TD Ameritrade (Brokerage)                                                                                          Ga. Code Ann. § 44-13-100 (a)(6)
Brief
description:
                                                                      5,499.00
                                                                     $________________         5,499.00
                                                                                            ✔ $ ____________

                                                                                             100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:       18
               Raymond James (Brokerage)                                                                                          Ga. Code Ann. § 44-13-100 (a)(6)
Brief
description:                                                         $________________
                                                                      4,100.00              
                                                                                            ✔ $ ____________
                                                                                                1,802.00
                                                                                             100% of fair market value, up to
                                                                                                any applicable statutory limit
Line from
Schedule A/B:        18
               Transamerica                                                                                                       Ga. Code Ann. § 44-13-100 (a)(8)
Brief
description:
                                                                      4,059.26
                                                                     $________________       $ ____________
                                                                                            ✔   2,000.00
                                                                                             100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:           31

Brief
description:                                                         $________________       $ ____________
                                                                                             100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:
Brief
description:                                                         $________________       $ ____________
                                                                                             100% of fair market value, up to
                                                                                                any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                         $________________       $ ____________
                                                                                             100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:


 Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                 2
                                                                                                                                                  page ___ of __2
                                                                                                                                                                  AMENDED
             Case 23-51696-bem                            Doc 14      Filed 03/27/23 Entered 03/27/23 16:59:31                                   Desc Main
                                                                     Document     Page 10 of 38
   Fill in this information to identify your case:

                   Matthew Ryan Stucke
   Debtor 1
                   First Name                                 Last Name
                                           Middle Name

   Debtor 2
   (Spouse, if filing)     First Name
                                                Middle Name
                                                                   Last Name



   United States Bankruptcy Court for the: Northern District of Georgia

   Case number 23-51696                                                                                                                                    Check if this is
   (if know)                                                                                                                                               an amended
                                                                                                                                                           filing


  Official Form 106E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
 other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property
 (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with
 partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you
 need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write
 your name and case number (if known).

   Part 1:      List All of Your PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
         Yes.
   2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
      claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
      amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured
      claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3. (For an explanation of
      each type of claim, see the instructions for this form in the instruction booklet.)

                                                                                                                                  Total claim   Priority      Nonpriority
                                                                                                                                                amount        amount
  2.1                                                                     Last 4 digits of account number
         Georgia Department of Revenue                                                                                            $ 0.00        $ 0.00        $ 0.00
         Priority Creditor's Name
                                                                          When was the debt incurred?

         ARCS - Bankruptcy 1800 Century Blvd NE,                          As of the date you file, the claim is: Check all
         Number        Street                                             that apply.
         Suite 9100                                                          Contingent
                                                                             Unliquidated
         Atlanta GA             30345                                        Disputed
         City      State        ZIP Code

         Who owes the debt? Check one.                                    Type of PRIORITY unsecured claim:
                                                                             Domestic support obligations
             Debtor 1 only
                                                                             Taxes and certain other debts you owe the
             Debtor 2 only
                                                                             government
             Debtor 1 and Debtor 2 only                                      Claims for death or personal injury while you were
             At least one of the debtors and another                         intoxicated
             Check if this claim relates to a community                     Other. Specify
             debt
         Is the claim subject to offset?
             No
             Yes




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                                              page 1 of 10
              Matthew Ryan Stucke                                                                                                                            AMENDED
 Debtor      Case   23-51696-bem
                 First Name            Middle Name           Doc 14
                                                     Last Name         Filed 03/27/23 Entered 03/27/23Case
                                                                                                        16:59:31         Desc
                                                                                                           number(if known)     Main
                                                                                                                            23-51696
                                                                      Document     Page 11 of 38
  2.2                                                                 Last 4 digits of account number
          Internal Revenue Service                                                                                            $ 0.00     $ 0.00          $ 0.00
          Priority Creditor's Name
                                                                      When was the debt incurred?

          CIO                                                         As of the date you file, the claim is: Check all
          Number        Street                                        that apply.
          P.O. Box 7346                                                  Contingent
                                                                         Unliquidated
          Philadelphia PA                19101-7346                      Disputed
          City                 State     ZIP Code

          Who owes the debt? Check one.                               Type of PRIORITY unsecured claim:
                                                                         Domestic support obligations
              Debtor 1 only
                                                                         Taxes and certain other debts you owe the
              Debtor 2 only
                                                                         government
              Debtor 1 and Debtor 2 only                                 Claims for death or personal injury while you were
              At least one of the debtors and another                    intoxicated
              Check if this claim relates to a community                Other. Specify
              debt
          Is the claim subject to offset?
              No
              Yes
   Part 2:        List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing else to report in this part. Submit to the court with your other schedules.
        Yes. Fill in all of the information below.

   4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                         Total claim

  4.1                                                                 Last 4 digits of account number 1009
          American Express                                                                                                                                     $ 0.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          PO Box 96001                                                As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          Los Angeles CA                 90096                           Unliquidated
          City                 State     ZIP Code
                                                                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes

  4.2                                                                 Last 4 digits of account number 7347
          American Express                                                                                                                                $ 51,570.11
          Nonpriority Creditor's Name
                                                                      When was the debt incurred? 03/31/2022

          P.O. Box 981537                                             As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          El Paso TX             79998-0000                              Unliquidated
          City         State     ZIP Code
                                                                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 2 of 10
              Matthew Ryan Stucke                                                                                                         AMENDED
 Debtor      Case   23-51696-bem
                 First Name        Middle Name              Doc 14
                                                    Last Name         Filed 03/27/23 Entered 03/27/23Case
                                                                                                       16:59:31         Desc
                                                                                                          number(if known)     Main
                                                                                                                           23-51696
                                                                     Document     Page 12 of 38
  4.3                                                                Last 4 digits of account number 0002
          American Express                                                                                                               $ 6,461.87
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          PO Box 60189                                               As of the date you file, the claim is: Check all that apply.
          Number        Street                                          Contingent
          City of Industry CA            91716                          Unliquidated
          City                   State   ZIP Code
                                                                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.4                                                                Last 4 digits of account number 0004
          American Express                                                                                                               $ 8,247.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          PO Box 1270                                                As of the date you file, the claim is: Check all that apply.
          Number        Street                                          Contingent
          Newark NJ              07101                                  Unliquidated
          City        State      ZIP Code
                                                                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.5                                                                Last 4 digits of account number 5478
          Bankers Healthcare Group                                                                                                     $ 129,080.31
          Nonpriority Creditor's Name
                                                                     When was the debt incurred? 12/07/2021

          10234 West State Road 84                                   As of the date you file, the claim is: Check all that apply.
          Number        Street                                          Contingent
          Davie FL            33324                                     Unliquidated
          City      State     ZIP Code
                                                                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                        page 3 of 10
              Matthew Ryan Stucke                                                                                                     AMENDED
 Debtor      Case   23-51696-bem
                 First Name       Middle Name           Doc 14
                                                Last Name         Filed 03/27/23 Entered 03/27/23Case
                                                                                                   16:59:31         Desc
                                                                                                      number(if known)     Main
                                                                                                                       23-51696
                                                                 Document     Page 13 of 38
  4.6                                                            Last 4 digits of account number 8198
          Bankers Healthcare Group                                                                                                  $ 33,592.70
          Nonpriority Creditor's Name
                                                                 When was the debt incurred? 10/25/2019

          10234 West State Road 84                               As of the date you file, the claim is: Check all that apply.
          Number        Street                                      Contingent
          Davie FL            33324                                 Unliquidated
          City      State     ZIP Code
                                                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes

  4.7                                                            Last 4 digits of account number 1404
          Bankers Healthcare Group                                                                                                  $ 56,561.77
          Nonpriority Creditor's Name
                                                                 When was the debt incurred? 12/30/2021

          10234 West State Road 84                               As of the date you file, the claim is: Check all that apply.
          Number        Street                                      Contingent
          Davie FL            33324                                 Unliquidated
          City      State     ZIP Code
                                                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another
                                                                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes

  4.8                                                            Last 4 digits of account number 6661
          Bankers Healthcare Group                                                                                                 $ 154,796.59
          Nonpriority Creditor's Name
                                                                 When was the debt incurred? 09/10/2019

          10234 West State Road 84                               As of the date you file, the claim is: Check all that apply.
          Number        Street                                      Contingent
          Davie FL            33324                                 Unliquidated
          City      State     ZIP Code
                                                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another
                                                                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                        page 4 of 10
              Matthew Ryan Stucke                                                                                                      AMENDED
 Debtor      Case   23-51696-bem
                 First Name        Middle Name           Doc 14
                                                 Last Name         Filed 03/27/23 Entered 03/27/23Case
                                                                                                    16:59:31         Desc
                                                                                                       number(if known)     Main
                                                                                                                        23-51696
                                                                  Document     Page 14 of 38
  4.9                                                             Last 4 digits of account number 0764
          Bankers Healthcare Group                                                                                                   $ 23,913.43
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?

          10234 West State Road 84                                As of the date you file, the claim is: Check all that apply.
          Number        Street                                       Contingent
          Davie FL             33324                                 Unliquidated
          City      State      ZIP Code
                                                                     Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                       Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                         Student loans
              Debtor 1 and Debtor 2 only                             Obligations arising out of a separation agreement or divorce
                                                                     that you did not report as priority claims
              At least one of the debtors and another                Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community             debts
              debt                                                  Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.10 Bank of Ameria                                             Last 4 digits of account number
                                                                                                                                     $ 30,803.60
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?

          P.O. Box 17309                                          As of the date you file, the claim is: Check all that apply.
          Number        Street                                       Contingent
          Baltimore MD            21297-0000                         Unliquidated
          City           State    ZIP Code
                                                                     Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                       Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                         Student loans
              Debtor 1 and Debtor 2 only                             Obligations arising out of a separation agreement or divorce
                                                                     that you did not report as priority claims
              At least one of the debtors and another                Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community             debts
              debt                                                  Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.11 Cambridge Investment Research, Inc.                        Last 4 digits of account number
                                                                                                                                    $ 266,855.54
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?

          1776 Pleasant Plain Road                                As of the date you file, the claim is: Check all that apply.
          Number        Street                                       Contingent
          Fairfield IA           52556                               Unliquidated
          City         State     ZIP Code
                                                                     Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                       Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                         Student loans
              Debtor 1 and Debtor 2 only                             Obligations arising out of a separation agreement or divorce
                                                                     that you did not report as priority claims
              At least one of the debtors and another                Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community             debts
              debt                                                  Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                        page 5 of 10
              Matthew Ryan Stucke                                                                                                           AMENDED
 Debtor      Case   23-51696-bem
                 First Name             Middle Name           Doc 14
                                                      Last Name         Filed 03/27/23 Entered 03/27/23Case
                                                                                                         16:59:31         Desc
                                                                                                            number(if known)     Main
                                                                                                                             23-51696
                                                                       Document     Page 15 of 38
  4.12 Cetera Financial Group                                          Last 4 digits of account number
                                                                                                                                         $ 285,000.00
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          655 W. Broadway, 11th Floor                                  As of the date you file, the claim is: Check all that apply.
          Number        Street                                            Contingent
          San Diego CA                  92101                             Unliquidated
          City                State     ZIP Code
                                                                          Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                       Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes

  4.13 Cross River Bank                                                Last 4 digits of account number
                                                                                                                                              $ 0.00
          Nonpriority Creditor's Name
                                                                       When was the debt incurred? 02/28/2022

          400 Kelby Street, 14th Floor                                 As of the date you file, the claim is: Check all that apply.
          Number        Street                                            Contingent
          Fort Lee NJ                 07024                               Unliquidated
          City          State         ZIP Code
                                                                          Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                       Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes

  4.14 FINRA                                                           Last 4 digits of account number
                                                                                                                                           $ 8,450.00
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          1735 K Street, NW                                            As of the date you file, the claim is: Check all that apply.
          Number        Street                                            Contingent
          Washington DC                   20006                           Unliquidated
          City                 State      ZIP Code
                                                                          Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                       Other. Specify Legal Fees from Arbitration
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                               Schedule E/F: Creditors Who Have Unsecured Claims                        page 6 of 10
              Matthew Ryan Stucke                                                                                                        AMENDED
 Debtor      Case   23-51696-bem
                 First Name           Middle Name           Doc 14
                                                    Last Name         Filed 03/27/23 Entered 03/27/23Case
                                                                                                       16:59:31         Desc
                                                                                                          number(if known)     Main
                                                                                                                           23-51696
                                                                     Document     Page 16 of 38
  4.15 JP Morgan                                                     Last 4 digits of account number 8694
                                                                                                                                       $ 96,500.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          PO Box 15123                                               As of the date you file, the claim is: Check all that apply.
          Number        Street                                          Contingent
          Wilmington DE               19850                             Unliquidated
          City                State   ZIP Code
                                                                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.16 Lightstream                                                   Last 4 digits of account number
                                                                                                                                           $ 0.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          303 Peachtree Street Northeast                             As of the date you file, the claim is: Check all that apply.
          Number        Street                                          Contingent
          Atlanta GA             30308                                  Unliquidated
          City        State      ZIP Code
                                                                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes

  4.17 PayPal Credit                                                 Last 4 digits of account number
                                                                                                                                           $ 0.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          P.O. Box 105658                                            As of the date you file, the claim is: Check all that apply.
          Number        Street                                          Contingent
          Atlanta GA             30348-0000                             Unliquidated
          City        State      ZIP Code
                                                                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                       page 7 of 10
              Matthew Ryan Stucke                                                                                                         AMENDED
 Debtor      Case   23-51696-bem
                 First Name       Middle Name             Doc 14
                                                  Last Name         Filed 03/27/23 Entered 03/27/23Case
                                                                                                     16:59:31         Desc
                                                                                                        number(if known)     Main
                                                                                                                         23-51696
                                                                   Document     Page 17 of 38
  4.18 Raymond James Financial, Inc.                               Last 4 digits of account number
                                                                                                                                     $ 1,499,308.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?

          880 Carillon Parkway                                     As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          Saint Petersburg FL             33716                       Unliquidated
          City                   State    ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes

  4.19 SOFI                                                        Last 4 digits of account number 4877
                                                                                                                                       $ 59,823.03
          Nonpriority Creditor's Name
                                                                   When was the debt incurred? 11/15/2021

          P.O. Box 654158                                          As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          Dallas TX           75265                                   Unliquidated
          City      State     ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes

  4.20 SOFI                                                        Last 4 digits of account number 5590
                                                                                                                                          $ 465.78
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?

          P.O. Box 654158                                          As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          Dallas TX           75265                                   Unliquidated
          City      State     ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                          page 8 of 10
              Matthew Ryan Stucke                                                                                                                 AMENDED
 Debtor      Case   23-51696-bem
                 First Name        Middle Name           Doc 14
                                                 Last Name         Filed 03/27/23 Entered 03/27/23Case
                                                                                                    16:59:31         Desc
                                                                                                       number(if known)     Main
                                                                                                                        23-51696
                                                                  Document     Page 18 of 38
  4.21 Upgrade Inc                                                Last 4 digits of account number 6100
                                                                                                                                                   $ 0.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?

          Lbx#452210                                              As of the date you file, the claim is: Check all that apply.
          Number        Street                                       Contingent
          PO Box 52210                                               Unliquidated
                                                                     Disputed
          Phoenix AZ             85072
          City         State     ZIP Code                         Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                             Student loans
              Debtor 1 only                                          Obligations arising out of a separation agreement or divorce
                                                                     that you did not report as priority claims
              Debtor 2 only
                                                                     Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                             debts
              At least one of the debtors and another               Other. Specify Credit Card Debt
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.22 William Owens                                              Last 4 digits of account number
                                                                                                                                               $ 75,000.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?

          1155 N GULFSTREAM AVE                                   As of the date you file, the claim is: Check all that apply.
          Number        Street                                       Contingent
          APT 1802                                                   Unliquidated
                                                                     Disputed
          Sarasota FL            34236
          City           State   ZIP Code                         Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                             Student loans
              Debtor 1 only                                          Obligations arising out of a separation agreement or divorce
                                                                     that you did not report as priority claims
              Debtor 2 only
                                                                     Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                             debts
              At least one of the debtors and another               Other. Specify Monies Loaned / Advanced
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

   Part 3:        List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
     collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection
     agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If
     you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.


   Part 4:        Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
     Add the amounts for each type of unsecured claim.


                                                                                                             Total claim

   Total claims          6a. Domestic support obligations                                          6a.   $ 0.00
   from Part 1
                         6b. Taxes and certain other debts you owe the                             6b.   $ 0.00
                         government
                         6c. Claims for death or personal injury while you were                    6c.   $ 0.00
                             intoxicated
                         6d. Other. Add all other priority unsecured claims. Write that            6d.   $ 0.00
                             amount here.
                         6e. Total. Add lines 6a through 6d.                                       6e.
                                                                                                          $ 0.00




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                 page 9 of 10
              Matthew Ryan Stucke                                                                                              AMENDED
 Debtor      Case   23-51696-bem
               First Name     Middle Name           Doc 14
                                            Last Name          Filed 03/27/23 Entered 03/27/23Case
                                                                                                16:59:31         Desc
                                                                                                   number(if known)     Main
                                                                                                                    23-51696
                                                              Document     Page 19 of 38
                                                                                                           Total claim

   Total claims        6f. Student loans                                                         6f.   $ 0.00
   from Part 2
                       6g. Obligations arising out of a separation agreement or                  6g.   $ 0.00
                           divorce that you did not report as priority claims
                       6h. Debts to pension or profit-sharing plans, and other                   6h.   $ 0.00
                           similar debts
                       6i. Other. Add all other nonpriority unsecured claims. Write that         6i.   $ 2,786,429.73
                           amount here.
                       6j. Total. Add lines 6f through 6i.                                       6j.
                                                                                                        $ 2,786,429.73




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims             page 10 of 10
                                                                                                                                                        AMENDED
               Case 23-51696-bem                        Doc 14     Filed 03/27/23 Entered 03/27/23 16:59:31                              Desc Main
                                                                  Document     Page 20 of 38
Fill in this information to identify your case:

Debtor 1
                 Matthew Ryan Stucke
                  First Name                               Last Name
                                     Middle Name

Debtor 2
(Spouse, if filing)     First Name
                                          Middle Name
                                                                Last Name



United States Bankruptcy Court for the: Northern District of Georgia

Case number 23-51696                                                                                                                             Check if this is
(if know)                                                                                                                                        an amended
                                                                                                                                                 filing




  Official Form 106H
  Schedule H: Your Codebtors                                                                                                                             12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.


 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      No
      Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
    California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
    line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
    Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
    out Column 2.


       Column 1: Your codebtor                                                                      Column 2: The creditor to whom you owe the debt
                                                                                                    Check all schedules that apply:
3.1     Heidi Stucke                                                                                    Schedule D, line 2.2
        Name                                                                                            Schedule E/F, line
        12902 Donegal Lane                                                                              Schedule G, line
        Street
        Alpharetta                                                     GA       30004
        City                                                           State    ZIP Code

3.2     Heidi Stucke                                                                                    Schedule D, line 2.3
        Name                                                                                            Schedule E/F, line
        12902 Donegal Lane                                                                              Schedule G, line
        Street
        Alpharetta                                                     GA       30004
        City                                                           State    ZIP Code

3.3     Matt Stucke, LLC                                                                                Schedule D, line
        Name                                                                                            Schedule E/F, line 4.2
        12902 Donegal Lane                                                                              Schedule G, line
        Street
        Alpharetta                                                     GA       30004
        City                                                           State    ZIP Code

3.4     Matt Stucke, LLC                                                                                Schedule D, line
        Name                                                                                            Schedule E/F, line 4.5
        12902 Donegal Lane                                                                              Schedule G, line
        Street
        Alpharetta                                                     GA       30004
        City                                                           State    ZIP Code


Official Form 106H                                                             Schedule H: Your Codebtors                                               page 1 of 2
                 Matthew Ryan Stucke                                                                                         AMENDED
Debtor          Case   23-51696-bem
                First Name   Middle Name           Doc 14
                                           Last Name         Filed 03/27/23 Entered 03/27/23Case
                                                                                              16:59:31         Desc
                                                                                                 number(if known)     Main
                                                                                                                  23-51696
                                                            Document     Page 21 of 38
3.5      Matt Stucke, LLC                                                                     Schedule D, line
         Name                                                                                 Schedule E/F, line 4.10
         12902 Donegal Lane                                                                   Schedule G, line
         Street
         Alpharetta                                          GA       30004
         City                                                State    ZIP Code




Official Form 106H                                                   Schedule H: Your Codebtors                              page 2 of 2
                                                                                                                                                   AMENDED
           Case 23-51696-bem                   Doc 14        Filed 03/27/23 Entered 03/27/23 16:59:31                               Desc Main
                                                            Document     Page 22 of 38
 Fill in this information to identify your case:

                      Matthew Ryan Stucke
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name                Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                Last Name


 United States Bankruptcy Court for the: ______________________
                                          Northern District of GeorgiaDistrict
                                                                                    tate)
 Case number            23-51696
                     ___________________________________________                                        Check if this is:
  (If known)
                                                                                                        ✔ An amended filing
                                                                                                        
                                                                                                         A supplement showing postpetition chapter 13
                                                                                                           income as of the following date:
                                                                                                           ________________
Official Form 106I                                                                                         MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                         12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                             Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                           ✔ Employed
    information about additional          Employment status                                                                Employed
    employers.                                                             Not employed                                 
                                                                                                                         ✔   Not employed
    Include part-time, seasonal, or
    self-employed work.                                                    Financial Advisor
                                          Occupation                     __________________________________          __________________________________
    Occupation may include student
    or homemaker, if it applies.                                          Macrocarpa Private Wealth
                                         Employer’s name
                                                                          (DBA)
                                                                        __________________________________            __________________________________


                                         Employer’s address                12902 Donegal Lane
                                                                        _______________________________________     ________________________________________
                                                                         Number Street                               Number    Street

                                                                        _______________________________________     ________________________________________

                                                                        _______________________________________     ________________________________________

                                                                           Milton, GA 30004-8104
                                                                        _______________________________________     ________________________________________
                                                                         City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?________________________                            ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                   For Debtor 1       For Debtor 2 or
                                                                                                                      non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.            2.            0.00                    0.00
                                                                                                  $___________           $____________

 3. Estimate and list monthly overtime pay.                                                 3.   + $___________
                                                                                                           0.00      +            0.00
                                                                                                                         $____________


 4. Calculate gross income. Add line 2 + line 3.                                            4.            0.00
                                                                                                  $__________                     0.00
                                                                                                                         $____________




Official Form 106I                                                  Schedule I: Your Income                                                      page 1
                                                                                                                                                    AMENDED
           Case 23-51696-bem Doc 14
             Matthew Ryan Stucke
                                                                           Filed 03/27/23 Entered 03/27/23 16:59:31 Desc Main
Debtor 1         _______________________________________________________                         Case number             23-51696
                                                                                                             (if known)_____________________________________
                 First Name         Middle Name               Last Name
                                                                          Document     Page 23 of 38
                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.            0.00
                                                                                                                          $___________                    0.00
                                                                                                                                                  $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5d. Required repayments of retirement fund loans                                                            5d.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5e. Insurance                                                                                               5e.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5f. Domestic support obligations                                                                            5f.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
                                                                                                                                0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5g. Union dues                                                                                              5g.
     5h. Other deductions. Specify: __________________________________                                           5h.    + $____________
                                                                                                                                 0.00         +            0.00
                                                                                                                                                  $_____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.             0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                               13,226.00                       0.00
                                                                                                                         $____________            $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                 0.00                     0.00
                                                                                                                         $____________            $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8e. Social Security                                                                                         8e.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                       0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

     8g. Pension or retirement income                                                                            8g.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________
                                                                                                                                 0.00         + $_____________
                                                                                                                                                         0.00
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.       13,226.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                           13,226.00
                                                                                                                         $___________     +               0.00
                                                                                                                                                  $_____________    =     13,226.00
                                                                                                                                                                        $_____________

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                  11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                          13,226.00
                                                                                                                                                                        $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                        12.
                                                                                                                                                                        Combined
                                                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      
      ✔    No.
          Yes. Explain:


  Official Form 106I                                                               Schedule I: Your Income                                                                page 2
                                                                                                                                                           AMENDED
            Case 23-51696-bem                    Doc 14        Filed 03/27/23 Entered 03/27/23 16:59:31                                        Desc Main
                                                              Document     Page 24 of 38
  Fill in this information to identify your case:

                     Matthew Ryan Stucke
  Debtor 1          __________________________________________________________________
                      First Name              Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________                        ✔ An amended filing
                                                                                                              
  (Spouse, if filing) First Name              Middle Name                 Last Name

                                          Northern District of Georgia
                                                                                                               A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________       District of __________                     expenses as of the following date:
                                                                                      (State)
                       23-51696                                                                                   ________________
  Case number         ___________________________________________                                                 MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔ No. Go to line 2.
   
    Yes. Does Debtor 2 live in a separate household?
                    No
                    Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                   No                                           Dependent’s relationship to              Dependent’s    Does dependent live
   Do not list Debtor 1 and                 ✔ Yes. Fill out this information for
                                                                                          Debtor 1 or Debtor 2                     age            with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’                                                             Aspyn Stucke                             16            No
                                                                                           _________________________                ________
   names.                                                                                                                                         
                                                                                                                                                  ✔ Yes
                                                                                            Brekkyn Stucke
                                                                                           _________________________                 14
                                                                                                                                    ________       No
                                                                                                                                                  
                                                                                                                                                  ✔ Yes
                                                                                            Ryker Stucke
                                                                                           _________________________                 8
                                                                                                                                    ________       No
                                                                                                                                                  
                                                                                                                                                  ✔ Yes

                                                                                           _________________________                ________       No
                                                                                                                                                   Yes
                                                                                           _________________________                ________       No
                                                                                                                                                   Yes
3. Do your expenses include
   expenses of people other than
                                               No
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                  Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                  2,876.00
                                                                                                                                      $_____________________
     any rent for the ground or lot.                                                                                          4.

     If not included in line 4:
                                                                                                                                                       795.00
     4a.    Real estate taxes                                                                                                 4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                      4b.
                                                                                                                                                       900.00
                                                                                                                                      $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                     4c.                   500.00
                                                                                                                                      $_____________________
     4d.    Homeowner’s association or condominium dues                                                                       4d.                   150.00
                                                                                                                                      $_____________________

  Official Form 106J                                             Schedule J: Your Expenses                                                               page 1
                                                                                                                                                AMENDED
              Case 23-51696-bem                  Doc 14           Filed 03/27/23 Entered 03/27/23 16:59:31                      Desc Main
                                                                 Document     Page 25 of 38
                    Matthew Ryan Stucke                                                                               23-51696
 Debtor 1          _______________________________________________________                    Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                         Your expenses

                                                                                                                        $_____________________
                                                                                                                                    3,380.00
 5. Additional mortgage payments for your residence, such as home equity loans                                   5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                     6a.    $_____________________
                                                                                                                                      825.00
        6b.   Water, sewer, garbage collection                                                                   6b.    $_____________________
                                                                                                                                      150.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                     6c.    $_____________________
                                                                                                                                      487.50
        6d.   Other. Specify: _______________________________________________                                    6d.    $_____________________
                                                                                                                                         0.00
 7. Food and housekeeping supplies                                                                               7.     $_____________________
                                                                                                                                    2,000.00
 8. Childcare and children’s education costs                                                                     8.     $_____________________
                                                                                                                                         0.00
 9. Clothing, laundry, and dry cleaning                                                                          9.     $_____________________
                                                                                                                                      400.00
10.    Personal care products and services                                                                       10.    $_____________________
                                                                                                                                      300.00
11.    Medical and dental expenses                                                                               11.    $_____________________
                                                                                                                                      725.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                        $_____________________
                                                                                                                                      650.00
       Do not include car payments.                                                                              12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.    $_____________________
                                                                                                                                      250.00
14.     Charitable contributions and religious donations                                                         14.    $_____________________
                                                                                                                                         0.00
                                                                                                                                                       1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                      15a.   $_____________________
                                                                                                                                      150.00
        15b. Health insurance                                                                                    15b.   $_____________________
                                                                                                                                      916.00
        15c. Vehicle insurance                                                                                   15c.   $_____________________
                                                                                                                                    1,250.00
        15d. Other insurance. Specify:_______________________________________                                    15d.   $_____________________
                                                                                                                                         0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                  Estimated Tax Payments
        Specify: ________________________________________________________                                        16.
                                                                                                                                    3,000.00
                                                                                                                        $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                          17a.   $_____________________
                                                                                                                                    1,524.00
        17b. Car payments for Vehicle 2                                                                          17b.   $_____________________
                                                                                                                                    1,118.00
                              Additional Car Payments
        17c. Other. Specify:_______________________________________________                                      17c.   $_____________________
                                                                                                                                      552.96
        17d. Other. Specify:_______________________________________________                                      17d.   $_____________________
                                                                                                                                         0.00

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                          18.                    0.00
                                                                                                                        $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                            19.
                                                                                                                                         0.00
                                                                                                                        $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                         20a.   $_____________________
                                                                                                                                         0.00
        20b. Real estate taxes                                                                                   20b.   $_____________________
                                                                                                                                         0.00
        20c. Property, homeowner’s, or renter’s insurance                                                        20c.   $_____________________
                                                                                                                                         0.00
        20d. Maintenance, repair, and upkeep expenses                                                            20d.   $_____________________
                                                                                                                                         0.00
        20e. Homeowner’s association or condominium dues                                                         20e.   $_____________________
                                                                                                                                         0.00


      Official Form 106J                                          Schedule J: Your Expenses                                                   page 2
                                                                                                                                                  AMENDED
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                   Matthew Ryan Stucke                                                                                  23-51696
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________                                              0.00
                                                                                                                   21.   +$_____________________
______________________________________________________________________________________                                   +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                22,899.46
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                22,899.46
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                      13,226.00
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                22,899.46
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                 -9,673.46
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
         Yes.      Explain here:




      Official Form 106J                                        Schedule J: Your Expenses                                                       page 3
                                                                                                                                                      AMENDED
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                                                             Document     Page 27 of 38
Fill in this information to identify your case:

Debtor 1           Matthew Ryan Stucke
                  __________________________________________________________________
                    First Name              Middle Name             Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name             Last Name


                                        ______________________
United States Bankruptcy Court for the:Northern District of Georgia District of __________
                                                                                (State)
Case number         23-51696
                    ___________________________________________
(If known)
                                                                                                                                          Check if this is an
                                                                                                                                          ■

                                                                                                                                              amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                         12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔     No
            Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                               Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Matthew Ryan Stucke
          ______________________________________________           _____________________________
         Signature of Debtor 1                                         Signature of Debtor 2


              03/27/2023
         Date _________________                                        Date _________________
                MM /    DD       /   YYYY                                       MM / DD /   YYYY




  Official Form 106Dec                                     Declaration About an Individual Debtor’s Schedules
                                                                                                                                                  AMENDED
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  Fill in this information to identify your case:

                     Matthew Ryan Stucke
   Debtor 1
                     First Name         Middle Name            Last Name

   Debtor 2
   (Spouse, if filing)   First Name        Middle Name           Last Name



   United States Bankruptcy Court for the: Northern District of Georgia

   Case number       23-51696
   (if known)
                                                                                                                                          Check if this is
                                                                                                                                          an amended
                                                                                                                                          filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                       12/15

If you are an individual filing under chapter 7, you must fill out this form if:
◾ creditors have claims secured by your property, or
◾ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign
and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known).

 Part 1:       List Your Creditors Who Have Secured Claims


 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information
    below.
                                                                     What do you intend to do with the property     Did you claim the property as
    Identify the creditor and the property that is collateral
                                                                     that secures a debt?                           exempt on Schedule C?
   Creditor's                                                                        Surrender the property.                   No
   name:                 Specialized Loan Servicing
                                                                                     Retain the property and redeem it.        Yes
   Description of 12902 Donegal Lane                                                 Retain the property and enter into a
   property
   securing debt:                                                                    Reaffirmation Agreement.
                                                                                     Retain the property and [explain]:



   Creditor's                                                                        Surrender the property.                   No
   name:                 Bank of America
                                                                                     Retain the property and redeem it.        Yes
   Description of 2021 Ford F150                                                     Retain the property and enter into a
   property
                                                                                     Reaffirmation Agreement.
   securing debt:
                                                                                     Retain the property and [explain]:



   Creditor's                                                                        Surrender the property.                   No
   name:                 US Bank
                                                                                     Retain the property and redeem it.        Yes
   Description of 12902 Donegal Lane                                                 Retain the property and enter into a
   property
   securing debt:                                                                    Reaffirmation Agreement.
                                                                                     Retain the property and [explain]:




 Part 2:       List Your Unexpired Personal Property Leases


 Official Form 108                                             Statement of Intention for Individuals Filing Under Chapter 7                       page 1 of 2
                                                                                                                                         AMENDED
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 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
 in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
 You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).
    Describe your unexpired personal property leases Will the lease be assumed?


Part 3:      Sign Below


Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.



     /s/ Matthew Ryan Stucke
       Signature of Debtor 1                                                    Signature of Debtor 2


     Date 03/27/2023                                                          Date 03/27/2023
             MM/DD/YYYY                                                              MM/DD/YYYY




Official Form 108                               Statement of Intention for Individuals Filing Under Chapter 7                             page 2 of 2
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 Fill in this information to identify your case:

                    Matthew Ryan Stucke
 Debtor 1
                    First Name         Middle Name           Last Name

 Debtor 2
 (Spouse, if filing)   First Name         Middle Name          Last Name



 United States Bankruptcy Court for the: Northern District of Georgia

 Case number        23-51696
 (if know)                                                                                                                                                      Check if this is
                                                                                                                                                                an amended
                                                                                                                                                                filing



 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                      4/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is needed, attach
a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

 1. What is your current marital status?
       Married
       Not married
 2. During the last 3 years, have you lived anywhere other than where you live now?
       No
       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community
    property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and
    Wisconsin.)
       No
       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H)

 Part 2:       Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
       No
       Yes. Fill in the details.
                                                                           Debtor 1                                               Debtor 2

                                                                           Sources of income         Gross income                 Sources of income          Gross income
                                                                           Check all that apply      (before deductions           Check all that apply       (before deductions
                                                                                                     and exclusions)                                         and exclusions)

         From January 1 of current year until the date
         you filed for bankruptcy:                                            Wages,               $ 36,287.31                       Wages,              $
                                                                              commissions,                                           commissions,
                                                                              bonuses, tips                                          bonuses, tips
                                                                              Operating a business                                   Operating a business


         For last calendar year:
                                                                              Wages,               $ 323,350.06                      Wages,              $
         (January 1 to December 31, 2022                                      commissions,                                           commissions,
                                                                              bonuses, tips                                          bonuses, tips
                                                                              Operating a business                                   Operating a business


         For the calendar year before that:
                                                                              Wages,               $ 82,340.00                       Wages,              $
         (January 1 to December 31, 2021                                      commissions,                                           commissions,
                                                                              bonuses, tips                                          bonuses, tips
                                                                              Operating a business                                   Operating a business



Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 1 of 8
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              First Name       Middle Name        Last Name
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5. Did you receive any other income during this year or the two previous calendar years?
   Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
   unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
   and gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under
   Debtor 1.

   List each source and the gross income from each source separately. Do not include income that you listed in line 4.
         No
         Yes. Fill in the details.
                                          Debtor 1                                                                     Debtor 2

                                          Sources of income                        Gross income from each              Sources of income            Gross income from each
                                          Describe below.                          source                              Describe below.              source
                                                                                   (before deductions and                                           (before deductions and
                                                                                   exclusions)                                                      exclusions)
  From January 1 of
  current year until the                                                            $
  date you filed for
  bankruptcy:
  For last calendar year:
                                                                                    $
  (January 1 to December
  31, 2022
  For the calendar year
  before that:                               IRA Distribution                       $ 14,050.00

  (January 1 to December
  31, 2021


 Part 3:       List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

         No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
             “incurred by an individual primarily for a personal, family, or household purpose.”

              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

                    No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                    as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

              * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

         Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and
                          alimony. Also, do not include payments to an attorney for this bankruptcy case.

                                                                   Dates of payment              Total amount paid             Amount you still   Was this payment
                                                                                                                               owe                for…


                                                                                               $ 25,092.62                   $ 0.00                  Mortgage
                      American Express
                                                                                                                                                     Car
                      Creditor’s Name
                                                                                                                                                     Credit card
                      PO Box 96001                                                                                                                   Loan repayment
                      Number    Street                                                                                                               Suppliers or
                      Los Angeles CA              90096                                                                                           vendors
                      City               State    ZIP Code                                                                                           Other




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                                                               11/30/2022                    $ 33,658.00                   $ 0.00            Mortgage
                     Cross River Bank                                                                                                        Car
                     Creditor’s Name                           10/30/2022
                                                               09/30/2022                                                                    Credit card
                     400 Kelby Street, 14th Floor                                                                                            Loan repayment
                     Number     Street                                                                                                       Suppliers or
                     Fort Lee NJ            07024                                                                                         vendors
                     City        State      ZIP Code                                                                                         Other



                                                                                             $ 18,100.00                   $ 0.00            Mortgage
                     Upgrade Inc                                                                                                             Car
                     Creditor’s Name
                                                                                                                                             Credit card
                     Lbx#452210                                                                                                              Loan repayment
                     Number     Street                                                                                                       Suppliers or
                     PO Box 52210                                                                                                         vendors
                                                                                                                                             Other
                     Phoenix AZ             85072
                     City        State      ZIP Code



                                                               12/15/2023                    $ 30,200.00                   $ 465.78          Mortgage
                     SOFI                                                                                                                    Car
                     Creditor’s Name
                                                                                                                                             Credit card
                     P.O. Box 654158                                                                                                         Loan repayment
                     Number     Street                                                                                                       Suppliers or
                     Dallas TX           75265                                                                                            vendors
                     City     State      ZIP Code                                                                                            Other



                                                               12/15/2023                    $ 14,821.00                   $ 6,461.87        Mortgage
                     American Express                                                                                                        Car
                     Creditor’s Name
                                                                                                                                             Credit card
                     PO Box 60189                                                                                                            Loan repayment
                     Number     Street                                                                                                       Suppliers or
                     City of Industry CA                                                                                                  vendors
                     City                   State                                                                                            Other
                     91716
                     ZIP Code



                                                               10/31/2022                    $ 20,000.00                   $ 96,500.00       Mortgage
                     JP Morgan
                                                               10/31/2022                                                                    Car
                     Creditor’s Name
                                                                                                                                             Credit card
                     PO Box 15123                                                                                                            Loan repayment
                     Number     Street                                                                                                       Suppliers or
                     Wilmington DE              19850                                                                                     vendors
                     City               State   ZIP Code                                                                                     Other



                                                                                             $ 46,338.00                   $ 0.00            Mortgage
                     Lightstream                                                                                                             Car
                     Creditor’s Name
                                                                                                                                             Credit card
                     303 Peachtree Street                                                                                                    Loan repayment
                     Number     Street                                                                                                       Suppliers or
                     Northeast                                                                                                            vendors
                                                                                                                                             Other
                     Atlanta GA           30308
                     City       State     ZIP Code



                                                               01/01/2023                    $ 8,400.00                    $ 751,038.00      Mortgage
                     US Bank                                                                                                                 Car
                     Creditor’s Name                           12/01/2022
                                                               11/01/2022                                                                    Credit card
                     Po Box 21948                                                                                                            Loan repayment
                     Number     Street                                                                                                       Suppliers or
                     Eagan MN            55121                                                                                            vendors
                     City     State      ZIP Code                                                                                            Other



7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider? Insiders

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   include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
   corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
   agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
   such as child support and alimony.
         No.
         Yes. List all payments to an insider.

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
   insider?
   Include payments on debts guaranteed or cosigned by an insider.
         No.
         Yes. List all payments that benefited an insider.
                                                   Dates of payment            Total amount paid               Amount you still      Reason for this payment
                                                                                                               owe                   Include creditor’s name


                                                                              $ 15,672.00                     $ 0.00                 Wife's Car Payment
         Heidi Stucke
         Creditor’s Name


         Number       Street
         .        .          .
         City     State      ZIP Code



                                                                              $ 3,600.00                      $ 0.00                 Daughter's car payment.
         Heidi Stucke
         Creditor’s Name


         Number       Street
         .        .          .
         City     State      ZIP Code




 Part 4:         Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
   List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
   and contract disputes.
         No
         Yes. Fill in the details.
                                                                Nature of the case                         Court or agency                             Status of the
                                                                                                                                                       case

    Case title:                                                                                                                                           Pending
    Bankers Healthcare Group, LLC                               Contract
                                                                                                       SUPREME COURT OF THE STATE OF NEW                  On appeal
    v. Matthew Stucke                                                                                  Court Name
    Case number: 006824/2022                                                                                                                              Concluded
                                                                                                       YORK


                                                                                                       Number        Street
                                                                                                       .         .        .
                                                                                                       City      State    ZIP Code

    Case title:                                                                                                                                           Pending
    Matthew Stucke v. RAYMOND                                   Arbitration
                                                                                                       FINRA Dispute Resolution                           On appeal
    JAMES & ASSOCIATES, INC.,                                                                          Court Name
    DON DUSAN MILICH, AND                                                                                                                                 Concluded
    TIMOTHY MARTIN
    HOLCOMBE                                                                                           Number        Street
    Case number:                                                                                       .         .        .
                                                                                                       City      State    ZIP Code


10.Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
   Check all that apply and fill in the details below.
         No. Go to line 11.
         Yes. Fill in the information below.




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11.Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts
   from your accounts or refuse to make a payment because you owed a debt?
         No
         Yes. Fill in the details

12.Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
   creditors, a court-appointed receiver, a custodian, or another official?
         No
         Yes

 Part 5:          List Certain Gifts and Contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
         No
         Yes. Fill in the details for each gift.

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
         No
         Yes. Fill in the details for each gift or contribution.


 Part 6:          List Certain Losses

15.Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
   gambling?
         No
         Yes. Fill in the details.


 Part 7:          List Certain Payments or Transfers

16.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
   Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
         No
         Yes. Fill in the details.
                                                                      Description and value of any property transferred              Date payment      Amount of
                                                                                                                                     or transfer was   payment
                                                                                                                                     made
                                                                                                                                     02/2023           $ 7,500.00
          Rountree Leitman Klein & Geer, LLC                                                                                                           $
          Person Who Was Paid
          2987 Clairmont Rd
          Number         Street
          Suite 350

          Atlanta GA              30329
          City         State      ZIP Code
          rlkglaw.com
          Email or website address


          Person Who Made the Payment, if Not You




Official Form 107                                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                            page 5 of 8
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                                                                    Description and value of any property transferred              Date payment      Amount of
                                                                                                                                   or transfer was   payment
                                                                                                                                   made
                                                                                                                                   02/2023           $ 14.99
          Debtoredu.com                                                                                                                              $
          Person Who Was Paid


          Number         Street
          .          .        .
          City       State    ZIP Code
          debtoredu.com
          Email or website address


          Person Who Made the Payment, if Not You



17.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone who promised to help you deal with your creditors or to make payments to your creditors?
   Do not include any payment or transfer that you listed on line 16.
         No
         Yes. Fill in the details.

18.Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
   property transferred in the ordinary course of your business or financial affairs?
   Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
   Do not include gifts and transfers that you have already listed on this statement.
         No
         Yes. Fill in the details.

19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
   you are a beneficiary?(These are often called asset-protection devices.)
         No
         Yes. Fill in the details.


 Part 8:          List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20.Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
   closed, sold, moved, or transferred?
   Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
   brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
         No
         Yes. Fill in the details.

21.Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
   securities, cash, or other valuables?
         No
         Yes. Fill in the details.

22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy
         No
         Yes. Fill in the details.


 Part 9:          Identify Property You Hold or Control for Someone Else

23.Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
   or hold in trust for someone.
         No
         Yes. Fill in the details.


 Part 10:          Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:
    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
    hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,

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Debtor           Matthew Ryan Stucke
                First Name       Middle Name   Last Name
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    including statutes or regulations controlling the cleanup of these substances, wastes, or material.
    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
    it or used to own, operate, or utilize it, including disposal sites.
    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
    substance, hazardous material, pollutant, contaminant, or similar term.
Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?
         No
         Yes. Fill in the details.

25.Have you notified any governmental unit of any release of hazardous material?
         No
         Yes. Fill in the details.

26.Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         No
         Yes. Fill in the details.


 Part 11:         Give Details About Your Business or Connections to Any Business

27.Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
              A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
              A member of a limited liability company (LLC) or limited liability partnership (LLP)
              A partner in a partnership
              An officer, director, or managing executive of a corporation
              An owner of at least 5% of the voting or equity securities of a corporation
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.

                                                                      Describe the nature of the business                         Employer Identification number
         Matt Stucke LLC                                                                                                          Do not include Social Security number or
         Business Name                                                                                                            ITIN.
                                                                     Macrocarpa Private Wealth
         Macrocarpa Private Wealth
         Number        Street                                                                                                     EIN: 8   5   –2   5   9   3   4   4   2
         12902 Donegal Lane                                          Name of accountant or bookkeeper                             Dates business existed

                                                                     1800 Accountant                                              From 08/19/2021 To Current
         Milton GA           30004-8104
         City      State     ZIP Code


28.Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
   institutions, creditors, or other parties.
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.




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 Part 12:       Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
    answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
    in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

         /s/ Matthew Ryan Stucke
         Signature of Debtor 1                                                 Signature of Debtor 2

         Date 03/27/2023                                                       Date

    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

         No
         Yes. Name of person                                                                                 Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                             Declaration, and Signature (Official Form 119).




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                       SUPPLEMENTAL LIST OF CREDITORS


Bank of America
P.O. Box 17309
Baltimore, MD 21297-0000
